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                                                                                           May 13 2020



                                UNITED STATES DISTRICT COURT
                                                                                                   20-mc-1448
                                EASTERN DISTRICT OF LOUISIANA


IN RE:                    STANLEY PRICE


                                                    ORDER

           Over the past 20 years, Stanley Price (“Price”) has been named as a plaintiff in eleven

    lawsuits filed in the United States District Court for the Eastern District of Louisiana.1 In most

    of these lawsuits, Price proceeded pro se and in forma pauperis. A pattern has emerged in

    Price’s litigation: when he is subject to an unfavorable decision, he often sues opposing

    counsel and any judge who oversaw a part of the case. Before the en banc court came a motion

    to prohibit Stanley Price from filing future complaints without first obtaining authorization

    from a district judge of this Court. Accordingly, upon majority vote of the en banc court,

    Stanley Price is hereby ordered to show cause why court-wide sanctions should not be

    imposed prohibiting all future filings and/or submissions by or on behalf of Stanley Price in

    the United States District Court for the Eastern District of Louisiana without first obtaining

    authorization from a district judge of this Court.

                                                I. Background

           In 2006, Price filed suit against IFC International in the Civil District Court for the

    Parish of Orleans, alleging that the company discriminated against Price based on his race and




1
 Price v. New Orleans City, et al, Case No. 98-1432 (Sear, J); Price v. Housing Authority of New Orleans, et al.,
Case No. 01-3016 (Duval, J.); Desire Area Resident, et al. v. Housing Authority of New Orleans, et al., Case No. 01-
3156 (Lemmon, J.); Desire Area Resident, et al. v. Housing Authority of New Orleans, et al., Case No. 01-3180
(Lemmon, J.); Price v. Davis, et al., Case No. 03-1145 (Lemmon, J.); Price v. Housing Authority of New Orleans, et
al., 07-9741 (Lemmon, J.); Price v. Lemmon, et al., 09-7563 (Africk, J); Price v. Ledet, et al., Case No. 10-411
(Feldman, J.); Morgan, et al. v. Regional Loan Corp., et al., Case No. 10-1436 (Feldman, J); Price v. Irons, et al.,
19-11451 (Vance, J); Price, et al. v. United States, et al., Case No. 20-817 (Hicks, J.).


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    age.2 After Judge Rose Ledet dismissed Price’s claims, Price filed suit in the Eastern District

    of Louisiana against Judge Ledet, IFC, various IFC human resources employees, and the

    attorney who represented IFC in state court.3 Judge Feldman dismissed Price’s claims against

    Judge Ledet based on judicial immunity,4 and he ultimately dismissed the entire case with

    prejudice.5

             In 2007, Price filed a complaint against the Housing Authority of New Orleans and

    various individual defendants, alleging he was discriminated against based on his sex.6 Judge

    Lemmon ultimately entered judgment dismissing all of Price’s claims. 7 Judge Lemmon

    specifically noted that Price had filed several similar lawsuits, and she warned Price that

    “future filings regarding the same matter may result in sanctions, including dismissal,

    monetary penalties, and restrictions on his ability to file actions in this court without prior

    leave of court.”8 Price appealed and a Fifth Circuit panel consisting of Judges Higginbotham,

    Barksdale, and Elrod affirmed Judge Lemmon’s decision. 9 In 2009, Price then sued Judge

    Lemmon, each of the Fifth Circuit judges who heard his appeal, the Department of Housing

    and Urban Development, and the Housing Authority of New Orleans.10 On March 1, 2010,




2
    See Price v. Ledet, et al., 10-411, Rec. Doc. 2.
3
    Id.
4
    Price v. Ledet, et al., 10-411, Rec. Doc. 27.
5
    Price v. Ledet, et al., 10-411, Rec. Doc. 32.
6
    Price v. Housing Authority of New Orleans, et al., Case No. 07-9741, Rec. Doc. 7.
7
    Price v. Housing Authority of New Orleans, et al., Case No. 07-9741, Rec. Doc. 62.
8
    Price v. Housing Authority of New Orleans, et al., Case No. 07-9741, Rec. Doc. 61 at 11.
9
    Price v. Housing Authority of New Orleans, et al., Case No. 08-30985 (5th Cir. May 5, 2009).
10
     Price v. Lemmon, et al., 09-7563, Rec. Doc. 3.

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 Judge Africk dismissed Price’s claims against the judges based on judicial immunity.11 Price

 appealed, and the Fifth Circuit affirmed Judge Africk’s decision.12

            In 2018, Price filed a suit in the Civil District Court for the Parish of Orleans against

Quiana Hunt and the Hunt-Clark Law Firm, L.L.C.13 The suit was assigned to Judge Robin

Giarrusso, and Price moved to recuse Judge Giarrusso. 14 The recusal motion was heard by

Judge Christopher Bruno, who denied the motion.15 Price also alleged that Judge Paulette Irons

issued an order recusing all judges from hearing Price’s claims and appointing a retired judge to

hear his case.16 Despite having had two prior suits dismissed based on judicial immunity, Price

sued Judges Giarrusso, Bruno, Irons, and Johnson in the Eastern District of Louisiana. 17 Judge

Vance dismissed Price’s claims against the state court judges on Eleventh Amendment and

judicial immunity grounds.18 Price responded by moving to disqualify Judge Vance.19

            On March 9, 2020, Price and three of his relatives sued Judges Lemelle, Englehardt,

Barbier, Lemmon, and Africk, as well as various law firms. 20 Price took issue with rulings

against him in various cases (including those discussed above), and he stated the lawsuit was

designed to “expose and combat judicial corruption supporting prudence of public disdain of

11
     Price v. Lemmon, et al., 09-7563, Rec. Doc. 14.
12
     Price v. Housing Authority of New Orleans, et al., Case No. 10-30244 (5th Cir. June 8, 2010).
13
     See Price v. Irons, et al., 19-11451, Rec. Doc. 1 at 6.
14
     Id. at 7.
15
     Id.
16
     Id. at 4.
17
  Id. Price also named the original defendants from his state suit, defense counsel from the state suit, and the
Judiciary Commission of Louisiana in the federal lawsuit.
18
     Rec. Doc. 59.
19
     Rec. Doc. 60.
20
     Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 1.


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the judiciary.”21 All judges of the Eastern District of Louisiana were recused, and the case was

reassigned to Judge Hicks of the Western District of Louisiana. 22 The case was referred to

Magistrate Judge Hornsby, who recommended that the claims against the judges be dismissed

based on judicial immunity and that the other claims be dismissed as they were not timely

filed.23 Magistrate Judge Hornsby also recommended that Stanly Price be sanctioned for abuse

of the judicial process by being prohibited from filing a complaint in the Eastern District of

Louisiana without first receiving authorization from a district judge of this Court.24 On April

29, 2020, Judge Hicks adopted the Report and Recommendation.25 Judge Hicks “ordered that

the Clerk of Court decline to file any civil complaint submitted by Stanley Price unless the

complaint has been presented first to a district judge of this court and the judge has specifically

authorized in writing that the complaint may be filed.”26 Furthermore, Judge Hicks ordered that

any motion to proceed in forma pauperis that accompanies such a complaint be referred to a

district judge for action.27

                                                II. Law and Analysis

            In the Fifth Circuit, it is well established that courts have the discretion to enjoin

plaintiffs from filing frivolous claims.28 “No one, rich or poor, is entitled to abuse the judicial


21
     Id. at 3.
22
     Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 12.
23
     Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 13.
24
     Id.
25
  Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 17. The claims against the other defendants were
dismissed as they were not timely filed. Id.
26
     Id.
27
     Id.
28
     See e.g. Green v. Carlson, 649 F.2d 285, 287 (5th Cir. 1981).


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process.”29 “Flagrant abuse of the judicial process can enable one person to preempt the use of

judicial time that properly could be used to consider the meritorious claims of other litigants.”30

           The federal court may structure sanctions as are necessary or warranted to control the

court’s docket and maintain the orderly administration of justice. 31 Permissible sanctions

include a requirement that the plaintiff obtain judicial pre-approval for all future filings,

monetary sanctions, assessment of court costs, suspension of the plaintiff’s right to proceed in

forma pauperis until all previous litigation costs are paid, or other appropriate sanctions. 32 “In

determining whether it should impose a pre-filing injunction . . . a court must weigh all the

relevant circumstances, including the following four factors: ‘(1) the party’s history of

litigation, in particular whether he has filed vexatious, harassing, or duplicative lawsuits; (2)

whether the party had a good faith basis for pursuing the litigation, or simply intended to

harass; (3) the extent of the burden on the courts and other parties resulting from the party’s

filings; and (4) the adequacy of alternative sanctions.’”33

           Federal Rule of Civil Procedure 11 provides that a court may impose sanctions, after

providing notice and a reasonable opportunity to be heard, where an attorney or unrepresented

party presents pleadings, written motions, or other submissions for improper purposes—such as

to harass, cause unnecessary delay, or needlessly increase the cost of litigation.34 A court may


29
     Id. (citing Hardwick v. Brinson, 523 F.2d 798, 800 (5th Cir. 1975)).
30
     Id. (citing Green v. Camper, 477 F.Supp. 758, 770–71 (W.D. Mo. 1979)).
31
     See Goldgar v. Office of Administration, 26 F.3d 32, 36 n.3 (5th Cir. 1994).
32
  Goldgar, 26 F.3d at 36 n.3; Lay v. Anderson, 837 F.2d 231 (5th Cir. 1988); Mayfield v. Collins, 918 F.2d 560, 562
(5th Cir. 1991).
33
  Qureshi v. United States, 600 F.3d 523, 525 (5th Cir. 2010) (quoting Baum v. Blue Moon Ventures, LLC, 513 F.3d
181, 189 (5th Cir. 2008)).
34
  See Fed. R. Civ. P. 11(b)–(c). See also Qureshi, 600 F.3d at 525 (cautioning that abuse of the judicial process may
lead to sanctions under Rule 11).


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also impose sanctions under Rule 11 where assertions or submission of claims, defenses, and

factual contentions are unsupported by existing law, good-faith argument, or evidentiary

support.35 Moreover, the Fifth Circuit has recognized that “a court’s authority to impose an

injunction against future filings ‘flows not only from various statutes and rules relating to

sanctions, but the inherent power of the court to protect its jurisdiction and judgments and to

control its docket.’”36 Nevertheless, “[n]otice and a hearing are required if the district court sua

sponte imposes a pre-filing injunction.”37

             Over the past 20 years, court records reflect that Price has filed eleven lawsuits in the

 United States District Court for the Eastern District of Louisiana.38 In most of these lawsuits,

 Price proceeded pro se and in forma pauperis. A pattern has emerged in Price’s litigation:

 when he is subject to an unfavorable decision, he often sues opposing counsel and any judge

 who oversaw a part of the case. Price “is undoubtably aware, judges are protected by absolute

 immunity for actions taken in their judicial capacity.”39 Nevertheless, he continues to abuse

 the judicial process by repeatedly filing frivolous claims against judges who oversee his cases.

             Magistrate Judge Hornsby recommended sanctions in Case No. 20-817. The Report

 and Recommendation provided Price with notice of the proposed sanctions,40 and Price was

35
     See Fed. R. Civ. P. 11(b)(2)–(4).
36
     Qureshi, 600 F.3d at 525–26 (quoting Farguson v. MBank Houston, N.A., 808 F.2d 358, 360 (5th Cir. 1986)).
37
     Id. at 526 (quoting Baum, 513 F.3d at 189).
38
  Price v. New Orleans City, et al, Case No. 98-1432 (Sear, J); Price v. Housing Authority of New Orleans, et al.,
Case No. 01-3016 (Duval, J.); Desire Area Resident, et al. v. Housing Authority of New Orleans, et al., Case No. 01-
3156 (Lemmon, J.); Desire Area Resident, et al. v. Housing Authority of New Orleans, et al., Case No. 01-3180
(Lemmon, J.); Price v. Davis, et al., Case No. 03-1145 (Lemmon, J.); Price v. Housing Authority of New Orleans, et
al., 07-9741 (Lemmon, J.); Price v. Lemmon, et al., 09-7563 (Africk, J); Price v. Ledet, et al., Case No. 10-411
(Feldman, J.); Morgan, et al. v. Regional Loan Corp., et al., Case No. 10-1436 (Feldman, J); Price v. Irons, et al.,
19-11451 (Vance, J); Price, et al. v. United States, et al., Case No. 20-817 (Hicks, J.).
39
     See Price v. Ledet, et al., Case No. 10-411, Rec. Doc. 6.
40
     Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 13.

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 given an opportunity to object to the Report and Recommendation.41 Price did not address the

 proposed sanctions in his objections to the Report and Recommendation. 42 Judge Hicks

 adopted the Report and Recommendation, and he directed the Clerk of Court to decline to file

 any civil complaint submitted by Stanley Price unless the complaint has been presented first to

 a district judge of this Court and the judge has specifically authorized in writing that the

 complaint may be filed.43

             As discussed above, notice and a reasonable opportunity to be heard must be provided

 before a court sua sponte imposes a pre-filing injunction.44 Therefore, Stanley Price is ordered

 to show cause on or before June 1, 2020 at 5:00 PM by written memorandum, not to exceed 15

 pages, why court-wide sanctions should not be imposed prohibiting all future filings and/or

 submissions by or on behalf of Stanley Price in the United States District Court for the Eastern

 District of Louisiana without first obtaining authorization from a district judge of this Court. If

 Price desires oral argument, the Court will provide an opportunity for oral argument by

 videoconference or teleconference on June 3, 2020 at 10:00 AM. Price should provide his

 contact information in the response memorandum if he wishes to have oral argument on June

 3, 2020.

             Accordingly,




41
     Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 15.
42
     Id.
43
     Price, et al. v. United States, et al., Case No. 20-817, Rec. Doc. 17.
44
     See Fed. R. Civ. P. 11(b)–(c). See also Qureshi, 600 F.3d at 526.


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       IT IS HEREBY ORDERED that Stanley Price show cause on or before June 1, 2020

at 5:00 PM by written memorandum, not to exceed 15 pages, why court-wide sanctions should

not be imposed prohibiting all future filings and/or submissions by or on behalf of Stanley

Price in the United States District Court for the Eastern District of Louisiana without first

obtaining authorization from a district judge of this Court. If Price desires oral argument, the

Court will provide an opportunity for oral argument by videoconference or teleconference on

June 3, 2020 at 10:00 AM. Price should provide his contact information in the response

memorandum if he wishes to have oral argument on June 3, 2020.

       IT IS FURTHER ORDERED that the United States Marshal shall serve a copy of

this Order on Stanley Price, 2439 Mithra Street, New Orleans, Louisiana 70122.

                                     13th day of May, 2020.
       NEW ORLEANS, LOUISIANA, this _______



                                            _________________________________
                                            NANNETTE JOLIVETTE BROWN
                                            CHIEF JUDGE
                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF LOUISIANA




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